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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),               CASE NUMBER: 05-80025
                                                 HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                         ORDER REGARDING DEFENDANT’S
                         PROPOSED MITIGATING FACTORS

I.     INTRODUCTION

       Timothy O’Reilly filed a “Submission of Mitigating Factors.” (Doc. #628). This list

contains 60 mitigating factors that O’Reilly wants the Court to include in the jury

instructions and Special Verdict Form.

       The Government objects to the inclusion of numbers 2, 6, 7, 28, 29, 38, 39, 45,

46, 47, 48, 49, 50, 51 and 52.

       In an e-mail dated August 21, 2010, the Court stated that: (1) it will include

numbers 29, 38, 39, and 45; (2) it will exclude numbers 2, 46, 47, 48, 49, 50, and 52;

and, (3) it needed further argument on numbers 6, 7, 28, and 51.

       Oral argument was heard on August 23, 2010.

II.    APPLICABLE LAW AND ANALYSIS

       Pursuant to 18 U.S.C. §3592(a), “In determining whether a sentence of death is

to be imposed on a defendant, the finder of fact shall consider any mitigating factor”



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(emphasis added). 18 U.S.C. §3593(c) does not limit the information O’Reilly may

present regarding his mitigating factors: “The defendant may present any information

relevant to a mitigating factor” (emphasis added). Conversely, the Government is

limited to the aggravating factors in which it gave notice: “The government may present

any information relevant to an aggravating factor for which notice has been provided

under subsection (a).”

       The Court finds that 18 U.S.C. §3592(a)(1)-(8) are simply examples of specific

factors that, if supported by the evidence, mitigate against the death penalty. As

evidenced by the prefatory language in §3592(a) that the jury must consider any

mitigating factor “including” those factors outlined in §3592(a)(1)-(8), the list is not

exhaustive. See United States v. Davis, 132 F.Supp.2d 445, 464 (E.D. La. 2001).

       The Instruction the parties agreed will be given to the jury regarding mitigating

factors instructs that:

       mitigating factors are facts that would tend to support imposition of a
       sentence of life in prison without the possibility of release, rather than the
       death penalty. Mitigation information concerns the crime; information
       about the Defendant, his life, background, record, and character; and,
       anything that would suggest that life in prison without the possibility of
       release is a more appropriate sentence than the death penalty.

       At this juncture, the Court resolves any residual doubt it has about the meaning

of the word “any,” in O’Reilly’s favor.

       Finally, the Government indicated that it will not object to O’Reilly arguing his

proposed mitigating factors, during closing argument.




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       A.     Proposed Mitigating Factor Number 2: Life Without Possibility of
              Release is a Harsh Punishment

       The Court will include this factor. If the jury finds by a preponderance of the

evidence, that life in prison without the possibility of parole is harsh, that certainly could

suggest to the jury that such a sentence is more appropriate than death.

       B.     Proposed Mitigating Factor Number 48: Archie Broom was not
              prosecuted for Perjury Before the Federal Grand Jury, which is a
              serious crime; and

              Proposed Mitigating Factor Number 49: Archie Broom was not
              prosecuted for Making False Statements to Federal Agents or Being
              a Felon in Possession of a Firearm, which are serious crimes

       The Court declines to change its ruling on numbers 48 and 49. The Court finds

that the Government’s charging decisions are irrelevant to whether a sentence of life in

prison without the possibility of release for O’Reilly is a more appropriate sentence than

the death penalty.

       C.     Proposed Mitigating Factor Number 46: The Prosecution will
              recommend that Khayyam Wilson receive a sentence as low as 84
              months. The Court can impose a sentence of up to 210 months.
              Khayyam Wilson will not be sentenced to death;

              Proposed Mitigating Factor Number 47: The Prosecution will
              recommend that Archie Broom receive a sentence of 40 years or less
              depending upon his cooperation. If the Court accepts Mr. Broom’s
              guilty plea, it cannot sentence Mr. Broom to more than 40 years.
              Archie Broom will not be sentenced to death; and

              Proposed Mitigating Factor Number 50: The Government has agreed
              to recommend a sentence of probation for Henry Matthews. Mr.
              Matthews expects to receive a sentence of probation. Under his
              agreement with the prosecution, he cannot receive more than 60
              months in prison.


       The Court declines to change its ruling on numbers 46, 47, and 50. The Court is

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unsure of what sentence the Government will recommend, and does not know at this

juncture if it will even accept the Rule 11 Plea Agreements attached to these individuals.

However, the Court includes a mitigating factor that says, “The favorable informal

agreement that the Government offered to Henry Matthews as well as the favorable

plea agreements offered to Khayyam Wilson and Archie Broom, weigh against

imposition of a sentence of death for Mr. O’Reilly.” This could suggest to the jury that

life in prison without the possibility of release is a more appropriate sentence for Mr.

O’Reilly than the death penalty.

       D.     Proposed Mitigating Factor Number 52: If Tim O’Reilly stood trial in
              the State Courts of Michigan, execution would not be an option

       The Court declines to change its ruling on number 52 based on United States v.

Malone, 503 F.3d 481 (6th Cir. 2007).

       E.     Proposed Mitigating Factor Number 6: The FBI took no action after
              speaking with Dominic Young-Guidice

              Proposed Mitigating Factor Number 7: After speaking with Joe
              Nehmeh, the Government transferred Mr. O’Reilly to the Milan
              Detention Center where he was placed in General Population

       The Court includes numbers 6 and 7. If the jury finds, by a preponderance of the

evidence, that O’Reilly was not a serious threat to the lives and safety of others, this

information will suggest that life in prison without the possibility of release is a more

appropriate sentence than the death penalty.

       F.     Proposed Mitigating Factor Number 28: Zouelfikar Nehmeh
              manipulated and took advantage of Mr. O’Reilly

       Based on the agreement by the parties, the Court revises number 28 to read,

“Mr. O’Reilly is easily manipulated by others.”


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        G.      Proposed Mitigating Factor Number 51: Because neither Norman
                Duncan or Kevin Watson have stood trial, the decision as to Mr.
                O’Reilly’s sentence will have to be made without knowing what
                sentence they will receive.

        The Court finds number 51 relates to the “equally culpable defendants” mitigating

factor outlined in 18 U.S.C. §3592(a)(4). However, the Court revises this mitigating

factor to read, “Although Norman Duncan and Kevin Watson currently face the

possibility of the death penalty, a death sentence may not be imposed on them.”

        IT IS ORDERED.


                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: August 23, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 August 23, 2010.

 s/Linda Vertriest
 Deputy Clerk




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